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                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                                                                                      November 18, 2022
                                                                                       Nathan Ochsner, Clerk
                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

ROBERT STRANGE                                §
                                              §
v.                                            §      CIVIL ACTION NO. 4:22-cv-03911
                                              §
U.S. BANK, N.A.                               §

                          ORDER GRANTING STIPULATION OF
                           DISMISSAL WITHOUT PREJUDICE

On this day the Court considered the Stipulation of Dismissal without Prejudice submitted by
Plaintiff Robert Strange and finds that Plaintiff’s request has merit and should be GRANTED. It
is therefore


ORDERED, ADJUDGED and DECREED that all claims in the above-entitled and
numbered cause that were or could have been asserted by Plaintiff against Defendant be
dismissed without prejudice, with costs of court being assessed against the party incurring the
same. All relief not expressly granted in this Order is hereby denied.


                    18th day of November, 2022.
       Signed this _______



                                      ______________________________
                                           Presiding Judge
